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                                             July 6, 2020

  VIA ECF
  Honorable John Michael Vasquez, U.S.D.J.
  United States District Court, District of New Jersey
  U.S. Post Office and Court House Building
  1 Federal Square
  Courtroom PO 03
  Newark, NJ 07102

  Honorable Cathy L. Waldor, U.S.M.J.
  United States District Court, District of New Jersey
  Martin Luther King Bldg. and S.S. Court House
  50 Walnut Street
  Courtroom MLK 4D
  Newark, NJ.07102

                 Re: In Re Lamictal Direct Purchaser Antitrust Litigation
                     Master File No. 12-cv-995 (JMV) (CLW)

  Dear Judges Vasquez and Waldor:

          The Direct Purchaser Plaintiffs (“Plaintiffs”) respectfully submit this letter to request a
  status conference to address the schedule for further briefing regarding Plaintiffs’ motion for
  class certification. As Your Honors are aware, on April 22, 2020 the Third Circuit entered a
  Judgment (ECF No. 467) remanding this matter for further class certification proceedings. In
  furtherance of that process, the parties have conferred regarding the schedule for further class
  certification proceedings, but have been unable to reach agreement. At the conference, Plaintiffs
  will request the Court enter an Order consistent with the [Proposed] Order Setting Class
  Certification Briefing Schedule, which is submitted herewith.

                                                   Respectfully,

                                                   Peter S. Pearlman

                                                   Peter S. Pearlman

  Encl.
  cc: All counsel via ECF
